                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

K.C., et al.,

                       Plaintiffs,

                v.                                            No. 1:23-CV-595

THE INDIVIDUAL MEMBERS OF THE
MEDICAL LICENSING BOARD OF
INDIANA, in their official capacities, et al.,

                       Defendants.


             EXPERT REBUTTAL DECLARATION OF DAN H. KARASIC, M.D.

I, DAN H. KARASIC, M.D., hereby declare and state as follows:

        1.      I am over 18 years of age, of sound mind, and in all respects competent to testify.

        2.      I have been retained by counsel for Plaintiffs as an expert in connection with the

above-captioned litigation.

        3.      I have actual knowledge of the matters stated herein. If called to testify in this

matter, I would testify truthfully and based on my expert opinion.

        4.      I incorporate as part of this rebuttal declaration my opinions and qualifications set

forth in the expert declaration I filed in this matter dated April 17, 2023 and filed on April 21,

2023. Since then, I have testified as an expert at trial in: Dekker et al., v. Weida et al., No. 4:22-

cv-325 (N.D. Fla.).

        5.      As with my April 21, 2023 expert declaration, my opinions contained in this

rebuttal declaration are based on: my thirty years of clinical experience as a psychiatrist treating

thousands of patients with gender dysphoria, including adolescents and young adults; my

knowledge of the peer-reviewed research, regarding the treatment of gender dysphoria, which
reflects advancements in the field of transgender health; my knowledge of the clinical practice

guidelines for the treatment of gender dysphoria, including my work as a contributing author of

the eighth edition of the World Professional Association for Transgender Health (“WPATH”)

Standards of Care for the Health of Transgender and Gender Diverse People (SOC 8); and my

review of any of the materials cited herein.

        6.      I submit this rebuttal declaration to respond to the expert declarations of Drs. James

Cantor, Paul Hruz, Kristopher Kaliebe, Dianna Kenny, and Daniel Weiss.1

        7.      In this rebuttal, I respond to some of the central points made in those declarations.

I do not address each and every assertion made in those reports that I believe are baseless,

misleading, or mischaracterizations of the evidence, as there are many. Instead, my aim is to

provide an explanation of the erroneous premises upon which their conclusions are based.

                                   SUMMARY OF OPINIONS

        8.      The State’s expert witnesses’ description of gender-affirming care for adolescents

with gender dysphoria bears no resemblance to the prevailing treatment protocols.

        9.      The State’s expert witnesses offer no alternative effective treatment for adolescents

with gender dysphoria.

        10.     The State’s expert witnesses draw inappropriate conclusions from the numbers and

sex-ratios of gender clinic referrals.

        11.     Some of the State’s expert witnesses quarrel with the field of psychiatry and their

opinions reflect their lack of experience in the field generally or with minors with gender dysphoria

specifically.



1
 I have cited to the State’s expert witnesses’ respective declarations by last name and paragraph
number, and to their respective deposition transcripts, where appropriate, by page and line.

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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
       12.     The State’s expert witnesses’ attempts to discredit WPATH, the WPATH Standards

of Care and all of the professional groups that accept them are baseless.

       13.     Gender-affirming medical care can have long-term benefits to patients.

  THE STATE’S EXPERT WITNESSES’ DESCRIPTION OF GENDER-AFFIRMING
      CARE FOR ADOLESCENTS WITH GENDER DYSPHORIA BEARS NO
      RESEMBLANCE TO THE PREVAILING TREATMENT PROTOCOLS

       14.     The State’s expert witnesses offer descriptions of medical care for adolescents with

gender dysphoria that bear no resemblance to the widely accepted protocols for treatment

articulated in WPATH Standards of Care 8 (“WPATH SOC 8”), or its predecessor WPATH

Standards of Care 7 (“WPATH SOC 7”), and the Endocrine Society Guideline. Throughout their

declarations, the State’s experts claim that doctors who provide medical interventions to treat

gender dysphoria or who evaluate adolescents in advance thereof “actively encourage” or “push”

patients to be transgender, rush to provide or recommend medical interventions without sufficient

psychiatric assessments, disregard other mental health and family issues that could be causing the

patient distress, oppose psychotherapy, and fail to inform patients and their families of the risks

associated with treatments. (See, e.g., Kaliebe, ¶ 154 (claiming that therapists “advise a patient to

change a gender identity”); Weiss, ¶¶ 27, 33, 148 (claiming that clinicians “without question

‘affirm’ the child’s self-diagnosis,” “fail to address psychiatric comorbidities,” provide an

“assembly line” or “one size fits all” protocol, and use a “perfunctory” informed consent process)).

None of that is accurate.

       15.     The State’s experts call this “affirmative care” (Kaliebe, ¶ 22; Kenny, ¶ 158),

implying that it is an accepted mode of treatment, but the model they describe is completely at

odds with the WPATH SOC 7, WPATH SOC 8, and the Endocrine Society Guideline:




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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
                 a. Under the WPATH SOC 7, WPATH SOC 8, and Endocrine Society

                     Guideline, care for transgender youth that is described as “affirming” or

                     “gender affirming” does not mean steering them in any particular direction,

                     but rather supporting them through their period of exploration of gender

                     expression and increasing self-awareness of their identity. (Coleman, et al.,

                     2012, at 18; Ehrensaft, 2017).

                 b. The protocols provide that before any medical or surgical interventions are

                     provided to adolescents, a careful mental health assessment should be

                     conducted to ascertain whether the diagnostic criteria for Gender Dysphoria

                     in Adolescents and Adults are met and the appropriateness of such care for

                     the patient. (Coleman, et al., 2022, at S50; Hembree, et al., 2017, at 3877).

                 c. The protocols provide that clinicians should ensure that any psychiatric

                     conditions are appropriately addressed and that it is important that mental

                     health care is available to patients before, during, and sometimes after

                     transitioning. (Coleman, et al., 2022 at S256-7; Hembree, et al., 2017, at

                     3876, 3879).

                 d. The protocols provide for a rigorous informed consent process that includes

                     informing the patient and their parents of side effects of treatment, including

                     the potential loss of fertility. For hormone therapy, in addition to requiring

                     the parents’ informed consent, the adolescent must have “sufficient mental

                     capacity . . . to estimate the consequences of this (partly) irreversible

                     treatment, weigh the benefits and risks, and give informed consent.”

                     (Hembree, et al., 2017, at 3878).


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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
       16.     In sum, the State’s experts create a straw man by providing a false description of

care under the prevailing protocols and then attacking it. None of the State’s expert witnesses point

to any examples of this happening, or even citations to literature, but rather rely on their own

deliberate misreading of existing protocols and Internet sources. Indeed, Dr. Kaliebe admitted in

his deposition that his example of a rush to affirmation in the face of acute traumatic events was

just a hypothetical, not based on any real case or patient. (Compare Kaliebe, ¶ 153 (“Is it, for

example, sensible, compassionate, or good medical practice to, for instance, soon after a sexual

assault, automatically agree with a teen’s new self-assigned gender label?”) with Kaliebe Dep.

179:11 – 180:3 (“Well, that is, that particular vignette would be a hypothetical.”)). The State’s

expert witnesses’ either misunderstand the prevailing protocols or assume, without basis, that all

or most gender clinics or clinicians providing care to minors with gender dysphoria disregard them.

       17.     As a clinician who, unlike the State’s experts, actively works and consults with

clinicians providing care to transgender youth and adults on a regular basis, I know firsthand that

their characterization of treatment is wholly inconsistent with the prevailing practice in the United

States. If there are individual doctors who deviate from the accepted protocols and inappropriately

provide care that is harmful to patients, medical licensing boards can address that without denying

care to those who have been appropriately assessed and determined to need it. The reality, in my

experience, is that the majority of adolescents and young adults with gender dysphoria experience

significant barriers to diagnosis and treatment—the opposite of the problem the State’s expert

witnesses suggest.

       18.     The WPATH SOC 8 explicitly recommends psychotherapy for the treatment of

adolescents with gender dysphoria stating: “We recommend health care professionals working




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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
with gender diverse adolescents facilitate the exploration and expression of gender openly and

respectfully so that no one particular identity is favored.” (Coleman, et al 2022).

        19.     Unlike the State’s experts, I have regularly seen transgender adolescents in

psychotherapy over the course of decades. The false accusations regarding my views on

psychotherapy and my practice of psychotherapy bear no resemblance to reality.

        20.     It would be unethical for any clinician to “push” a patient to assume an identity –

either a cisgender or a transgender identity. Clinicians have ethical obligations to provide

appropriate medical care, and every incentive not to mis-diagnose patients with gender dysphoria

if, in fact, they have a different condition. It is clear from some of the State’s experts’ declarations

that their concern is not about the alleged lack of thorough mental health assessments or access to

psychotherapy for patients; it is about categorical opposition to treatment in all cases. (See, e.g.,

Kenny ¶¶ 141, 186 (objecting to “transgendering children and young people” and a parental failure

to enforce “boundaries” around “fantasies” and describing those young people as “totally ruined

as social human beings”)).

    THE STATE’S EXPERT WITNESSES OFFER NO ALTERNATIVE EFFECTIVE
         TREATMENT FOR ADOLESCENTS WITH GENDER DYSPHORIA

        21.     The State’s expert witnesses disapprove of existing protocols for treating gender

dysphoria in adolescents. But the alternative treatments they propose are not supported by the

rigorous evidentiary standards they hold existing protocols to and in fact lack any evidence of

effectiveness at all.

        22.     Dr. Kaliebe claims psychotherapy can sometimes enable a return to a gender

identity that matches sex assigned at birth, but offers nothing but an untested hypothesis based on

the effectiveness of cognitive behavioral therapy for other, unrelated conditions. (See Kaliebe, ¶¶



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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
167, 184). Dr. Kaliebe also asserts, without any evidence, that an alternative to gender-affirming

medical care is to encourage mindfulness meditation or trauma-focused yoga. (See Kaliebe, ¶¶

150, 167).

       23.     Dr. Kaliebe appears to support conversion therapy while admitting that there is no

evidence to support its use. (See Kaliebe, ¶¶ 160-161). He tries to rename it or redefine it, but

mostly creates a strawman fantasy of the practice of others, and compares it to the “quality” therapy

he provides. And yet, when he recommends cognitive behavioral therapy as a substitute for

medical interventions for those who need them, he is without any evidence that such intervention

effectively treats gender dysphoria. Cognitive behavioral therapy, as well as psychoanalytic

psychotherapy, were used for decades in attempts to treat the dysphoria of gender diverse youth as

part of efforts to try to make them more gender conforming. Ultimately, these practices over

decades resulted in no evidence of such interventions being effective. And those of us who have

treated transgender youth and adults have heard many reports from patients about both its lack of

efficacy and its harms. That’s why treatment with the goal of changing a person’s gender identity

is no longer considered ethical. (Coleman, et al., 2012, at 16; American Psychological Association,

2021). The comparison of such efforts to a purported “longstanding tradition” of mental health

practitioners “get[ting] patients to accept and live comfortably with their bodies” (Kaliebe, ¶ 161)

reflects a profound misunderstanding of gender dysphoria as a condition and its treatment. As a

clinician who has treated transgender patients for decades, I have worked with many people who

attempted conversion therapy, or who were sent to treatment designed to “cure” them of their

transgender identity. These efforts were universally unsuccessful and harmful to my patients.

       24.     Dr. Kenny also suggests that, as an alternative to medical interventions, health care

providers can address gender dysphoria by helping patients understand that they are “pregay


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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
children” and have “incipient fantasies, desires, and gender role performances that are not

consonant with gender social roles for their natal sex.” (Kenny, ¶ 241). This represents a

misunderstanding of gender dysphoria and its diagnoses and treatment, as well as a conflation of

gender identity and sexual orientation. If a patient’s distress relates only to a sense of limitation on

behaviors related to gender and they do not have a strong understanding of themselves as a

different gender than that assigned to them at birth, they would not meet the criteria for diagnosis

and medical treatment of gender dysphoria.

        25.     Dr. Weiss—an adult endocrinologist who has never treated a minor with gender

dysphoria—claims that psychotherapy can “lead to…desistance” in patients with gender

dysphoria. (Weiss, ¶ 26). Psychotherapy generally is certainly appropriate and is an aspect of care

for children and adolescents with gender dysphoria. But those types of interventions do not resolve

the dysphoria and are not alternatives to medical interventions for adolescents who need them. My

initial declaration discusses the harms that can result from the denial of medically indicated gender-

affirming medical care. (See Expert Declaration of Dan. K. Karasic, MD, filed at ECF 26-1, ¶¶ 57-

60).

        26.     The State’s experts point to “watchful waiting” as an alternative treatment approach

to the existing treatment paradigms outlined in the WPATH SOC 7, WPATH SOC 8, and the

Endocrine Society Guideline. (See Kaliebe, ¶ 89; Kenny, ¶ 197). While “watchful waiting” is an

approach for prepubertal children followed by some clinicians, it is not an accepted approach used

with adolescents. That is because, while there are studies finding that many prepubertal children

diagnosed with Gender Identity Disorder (a precursor diagnosis to Gender Dysphoria in Children)

identified with their sex assigned at birth at a later follow up, there is no evidence that gender




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dysphoria that continues into adolescence is likely to desist. (DeVries, et al., 2011, Wiepjies, et al.

2018, Brik, et al., 2020).2

       27.     There is likewise no basis for suggesting that providing gender-affirming medical

care will cause youth with gender dysphoria who would otherwise desist to, instead, persist. This

claim erroneously relies on the assertion that social transition in prepubertal children can cause

their gender dysphoria to persist into adolescence. First, the fact that there is a correlation between

social transition prior to puberty and persistence does not establish that social transition causes

persistence of gender dysphoria. The intensity of gender dysphoria prior to puberty predicted

persistence, and children with more intense dysphoria were more likely to socially transition.

(Steensma, 2013). Rae, et al. (2019) found that “stronger cross-sex identification and preferences

expressed by gender-nonconforming children at initial testing predicted whether they later socially

transitioned.” Further, whatever conclusions can be drawn from these desistance studies about the

impact of gender affirmation on the persistence rates in prepubertal children, this research does

not apply to adolescents with gender dysphoria, for whom desistance is rare, and the treatments

banned by SEA 480 are not indicated until adolescence.

       28.     The suggestion that adolescents can just wait until they are 18 years old to get care

ignores the harm of not providing the care. Allowing endogenous puberty to advance is not a

neutral decision. For many adolescents, the development of secondary sex characteristics that do



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  Although the work of Kenneth Zucker is often cited in support of “watchful waiting,” Dr. Zucker
recognized the need for medical interventions for gender dysphoria in adolescence and treated
adolescent patients with persistent gender dysphoria with the medical interventions now banned
by Indiana. (Zucker, et al., 2010). Similarly, the Dutch researchers who coined the term “watchful
waiting” for prepubertal children did the seminal research on medical interventions for those
patients whose gender dysphoria persists until adolescence. (de Vries, 2011; Steensma, 2011; de
Vries, 2014).


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not match their gender identity can have a severe negative impact on their mental health and can

exacerbate lifelong dysphoria because some of those characteristics are impossible to change later

through surgeries. In addition, youth may suffer needlessly from untreated gender dysphoria while

waiting to turn 18.

   THE STATE’S EXPERTS DRAW INAPPROPRIATE CONCLUSIONS FROM THE
         NUMBERS AND SEX RATIOS OF GENDER CLINIC REFERRALS

       29.     The State’s experts devote many pages to the increase in the numbers of referrals

to gender clinics, and changes in sex ratios of patients. (See, e.g., Kaliebe, ¶¶ 25-55; Kenny, ¶¶ 86-

109). As an initial matter, in their caricature of doctors pushing medical transition, the State’s

experts say the field is ignoring and avoiding exploration of these developments. That is not the

case. Indeed, the chapter on adolescents in WPATH SOC 8 specifically discusses the increase in

referrals to gender clinics and the sex ratios of these young patients. (See WPATH SOC 8 at

Chapter 6). But the State’s experts draw unsupported conclusions about the rise in number of

referrals and changes in sex ratios observed in some clinics. They claim this means adolescents

are adopting a transgender identity due to “social contagion,” leading them to undergo irreversible

medical treatments they later regret. (See, e.g., Kenny, ¶¶ 71-85). This conclusion is baseless.

       30.     The rise in numbers of referrals is hardly surprising given the greater awareness on

the part of youth and their parents of what gender dysphoria is and that care is available, as well

as the significant increase in the number of clinics available to provide care. In addition, the stigma

associated with being transgender, while still significant, has lessened in recent years. Coming out

to parents and seeking care are options that did not exist for many youth until recently, so an

increase in numbers of referrals to gender clinics is not surprising. While there is a documented




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increase in clinic referrals, the State’s experts exaggerate the increase by making inappropriate

comparisons.

       31.     Until the past decade, little data on the number of people identifying as transgender

was available. From 2007 to 2009, a question asking whether the respondent identified as

transgender was added to a large population-based health survey conducted in Massachusetts, and

0.5% of study participants identified as transgender. (Conron, et al., 2012). Since then, this

question was added to large health surveys in other states, and analyses of surveys done in 2014

found that, nationally, 0.5-0.6% of adults identified as transgender, and 0.7% of youth ages 13 to

17 identified as transgender. (Crissman, et al., 2017; Flores, et al., 2016; Herman, et al., 2017).

       32.     While increases in numbers and changes in sex ratios of patients referred to some

gender clinics have been reported, since the number of patients referred to gender clinics reflect

only a small fraction of the people identifying as transgender, these changes may reflect changes

in referral patterns to clinics rather than changes in the number of people identifying as

transgender.

       33.     Sex ratios of patients vary from clinic to clinic and over time. When I was the

psychiatrist for the Dimensions Clinic for transgender youth in San Francisco from 2003 to 2020,

a consistent majority of my patients were assigned female at birth. Other clinics have had more

assigned male at birth patients. The rise in numbers and percentage of patients assigned female at

birth observed at some clinics in recent years is not surprising given the historical development of

the study of gender dysphoria in youth. The first large American study of gender non-conforming

youth was the Feminine Boy Study at UCLA. There was significant societal discomfort with and

rejection of boys who departed from sex stereotypes—the director of the study referred to them as

“sissy boys” in the book resulting from the study—and these boys often experienced bullying from


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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
peers. In this context, boys who were perceived to be effeminate were the population brought in

to psychiatrists by their parents and were the population that was initially studied by researchers.

(Green, 1987). Parents were not as concerned about gender non-conforming girls as they were

more socially accepted. There was also less awareness among the general public of the existence

of transgender males and that transitioning was an option for individuals assigned female at birth

who were experiencing gender dysphoria. The increase in awareness in recent decades made it

possible for individuals who ultimately came to identify as transgender men to come out and seek

care.

        34.    Ultimately, the diagnostic criteria for gender dysphoria are rigorous: if there were

individuals claiming a transgender identity to fit into a peer group, they would not meet the criteria

for a gender dysphoria diagnosis, let alone be deemed to need medical interventions.

 SOME OF THE STATE’S EXPERT WITNESSES QUARREL WITH THE FIELD OF
 PSYCHIATRY AND THEIR OPINIONS REFLECT THEIR LACK OF EXPERIENCE
  IN THE FIELD GENERALLY OR WITH MINORS WITH GENDER DYSPHORIA
                          SPECIFICALLY

        35.    Gender dysphoria is a psychiatric diagnosis. Some of the State’s expert witnesses

critique the diagnosis of gender dysphoria for being based on self-reports from patients. (See, e.g.,

Cantor, ¶ 107 (critiquing gender identity as lacking scientific meaning because it is not “objectively

measurable”); Kenny, ¶ 187 & fn. 30 (criticizing the DSM-5 based on “the absence of diagnostic

tests for many of the conditions, which is unlike almost any other field of medicine, and nowhere

more problematic than in the area of gender dysphoria, that overly relies on patients’ subjective

reports and reconstructed memories…”)). But clinical interviews with patients are typically used

to diagnose other DSM diagnoses and determine treatment. This widely used assessment tool is

not unique to gender dysphoria.



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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
       36.     Based on their declarations and curriculum vitae, Drs. Kaliebe, Kenny, and Weiss

do not appear to have a sufficient clinical basis for offering expert opinions regarding the diagnosis

and treatment of gender dysphoria in children and adolescents, or the assessment and informed

consent process when treating adolescents with gender dysphoria and gender affirming care.

Notwithstanding their lack of qualifications, these witnesses did not hesitate to offer opinions

about psychiatric care for minors diagnoses with gender dysphoria. Overall, their declarations in

this regard appear to be based on a series of hypothetical assumptions about how other mental

health practitioners are diagnosing minors with gender dysphoria and recommending treatment—

with minimal (if any) experience doing so themselves, and without any apparent knowledge of

how care is provided by others.

       37.     Dr. Kaliebe has only treated approximately 13 minors with gender dysphoria. (See

Kaliebe Dep. 35:7 – 36:11). He speculates about how other mental health practitioners are

diagnosing minors with gender dysphoria and recommending treatment, again without any

apparent knowledge about how care is actually provided by others. (See, e.g., Kaliebe, ¶¶ 150-155

(speculating about the lack of interest in supportive psychotherapy among clinicians treating

adolescents with gender dysphoria), ¶¶ 171-185 (hypothesizing about clinicians’ alleged failure to

consider autism, trauma, and borderline personality disorder as comorbid conditions), ¶¶ 186-189

(guessing that clinicians reduce adolescents with gender dysphoria to their gender identity to the

exclusion of other aspects of self)).

       38.     Rather than the picture of care the Defendants’ experts paint, in my over thirty years

of clinical experience working with thousands of adolescents and young adults with gender

dysphoria, psychotherapy has been a central part of treating minors with gender dysphoria, as it is

with many conditions; and diagnosing and treating gender dysphoria involves careful assessment,


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EXPERT REBUTTAL DECLARATION OF DR. DAN H. KARASIC, M.D.
differential diagnosis and management of comorbid conditions. Though psychotherapy can be a

critical part of managing a patient’s well-being, it does not treat a patient’s underlying dysphoria,

which stems from the incongruence between a patient’s physiological sex-based characteristic and

gender identity.

        39.     Dr. Kenny admits that she practices “exploratory psychotherapy”—which has no

evidence base—with a small population of families who reject their children’s gender dysphoria

diagnoses or transgender identities. (See Kenny, ¶ 9; Kenny Dep. 30:24 – 33:17, 34:23 – 35:10).

Professor Kenny also appears to dispute gender dysphoria as a legitimate diagnosis, apparently

disagreeing with the DSM-5-TR’s de-pathologizing of transgender identity. (See Kenny, ¶ 187

(“Because the DSM-5 contends that “being transgender” is not a pathological condition, it has

accordingly revised the diagnostic criteria (and name) of gender identity disorder to GD to

“recognize” the clinical distress as the focus of the treatment, not the patient’s transgender status

per se.”)).

        40.     To the contrary, gender dysphoria is a legitimate diagnosis. Though being

transgender is not a pathology, this change ultimately has no bearing on the diagnostic criteria for

gender dysphoria outlined in the DSM. Dr. Kenny seems to offer the view that pushing people to

be cisgender should be the prevailing paradigm of treatment, but as discussed above, this is neither

effective nor ethical.

        41.     Dr. Weiss is an adult endocrinologist and has not treated any minors with gender

dysphoria. (See Weiss, ¶¶ 1-4, 8; Weiss Dep. 10:4-6, 112:22-113:6, 201:24-202:4). Nonetheless,

Dr. Weiss did not hesitate to offer opinions about psychiatric care. (See, e.g., Weiss, ¶¶ 24-26

(hypothesizing that a gender dysphoria diagnosis may be influenced by gender stereotypes or peer

or social media influence and claiming that psychotherapy can “lead to…desistance” in patients


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with gender dysphoria), ¶ 35 (claiming “With gender identity issues, open, exploratory

psychotherapy or talk therapy is too often dispensed with entirely.”)).

       42.     Dr. Weiss reports that most of his patients with gender dysphoria stopped treatment

with gender affirming hormones. He measured this claim by the fact that his patients did not

continue appointments with him. But there are many reasons a patient might discontinue treatment

with a provider or stop accessing hormone therapy that are unrelated to either regret or detransition.

For example, there have been many barriers, including lack of insurance reimbursement, to

patients following up in care. Dr. Weiss states in his deposition that many of his patients were

Medicaid recipients. (See Weiss Dep. 72:23 – 73:2). Ohio historically excluded gender affirming

care from Medicaid coverage. Even after there were some federal and state moves to expand

Medicaid coverage, in 2015 the state of Ohio enacted an exclusion of gender affirming care from

Ohio Medicaid.3 Exclusions for gender affirming care also were present in many private insurance

policies as well during the period Dr. Weiss provided gender-affirming care. The patients that Dr.

Weiss no longer saw also had other treatment options in Ohio: Dr. Weiss reports referring patients

to MetroHealth (see Weiss Dep. 49:15-23, 117:1-21, 118:5 – 119:8), which for over 15 years has

provided a welcoming environment for gender affirming care in northern Ohio, despite Medicaid

and private healthcare exclusions.4




3
 See, e.g., Christy Mallory & William Tentindo, Medicaid Coverage for Gender-Affirming Care
(Oct. 2019), available at https://williamsinstitute.law.ucla.edu/wp-content/uploads/Medicaid-
Gender-Care-Oct-2019.pdf.
4
 See MetroHealth, Adult Transgender & Non-Binary Care, https://www.metrohealth.org/lgbtqi-
pride-network/adult-transgender-non-binary-care (last visited June 5, 2023).


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       43.     Dr. Weiss states that, in addition to patients not returning to him to receive gender-

affirming care, he saw two adult patients who regretted having orchiectomies, one because of

sexual dysfunction.5 The fact that some patients may regret surgical interventions in adulthood is

certainly no reason to ban all treatment for adolescents. Regret for orchiectomy is rare: 0.6% over

a 43 year period in the Netherlands. (Wiepjes et al, 2018). But in any event, Dr. Weiss knows that

any treatment comes with the potential for negative effects. For example, Dr. Weiss works for Eli

Lilly promoting the use of Mounjaro. In Lilly’s report of the data supporting the approval of

Mounjaro for weight loss, over 80% of trial participants had adverse effects, 111 participants

stopped Mounjaro due to adverse effects, and 7 study participants died after taking Mounjaro.6

    THE STATE’S EXPERT WITNESSES’ ATTEMPTS TO DISCREDIT THE WPATH
     STANDARDS OF CARE AND ALL OF THE PROFESSIONAL GROUPS THAT
                      ACCEPT THEM ARE BASELESS

       44.     The State’s expert witnesses characterize WPATH as an ideological, non-scientific,

advocacy organization, open to transgender activists outside of the health field. (See Kaliebe, ¶¶

122-126; Kenny, ¶¶ 98, 147; Weiss, ¶ 40). Many WPATH members are academics who publish

in peer-reviewed journals. Many are academic leaders in endocrinology, internal medicine, plastic

surgery, urology, psychiatry, psychology, and other disciplines of the health sciences. WPATH

restricts its full membership to those with professional credentials and most members are licensed



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  These anecdotes are not representative of the broader literature around this surgical intervention.
A review of 6793 patients seen in the Dutch gender clinic over 43 years found that only 0.6%
regretted having an orchiectomy (Wiepjes et al, 2018). Wiepjes CM, Nota NM, de Blok CJM,
Klaver M, de Vries ALC, Wensing-Kruger SA, de Jongh RT, Bouman MB, Steensma TD, Cohen-
Kettenis P, Gooren LJG, Kreukels BPC, den Heijer M. The Amsterdam Cohort of Gender
Dysphoria Study (1972-2015): Trends in Prevalence, Treatment, and Regrets. J Sex Med. 2018
Apr;15(4):582-590. doi: 10.1016/j.jsxm.2018.01.016. Epub 2018 Feb 17. PMID: 29463477.
6
 See Jastreboff, A.M., et al. (2022). Tirzepatide Once Weekly for the Treatment of Obesity. N
Engl J Med 2022; 387:205-216. https://www.nejm.org/doi/full/10.1056/NEJMoa2206038.

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clinicians. The fact that WPATH engages in advocacy on behalf of its patient population for access

to beneficial care is typical of medical associations. For example, the American Psychiatric

Association advocates for a wide range of public policy changes to improve access to mental health

care, e.g., for migrants and for incarcerated people.7

       45.     I have been involved with WPATH for many years and have 35 years of experience

treating people with mental illnesses. And there are many others like me in WPATH. Mental health

providers make up the largest percentage of WPATH’s membership. These mental health

professionals are licensed and regulated by state licensing boards, and most provide care to both

cisgender and transgender clients—including those with serious mental illness.

       46.     Having been actively involved for over three decades as a UCSF professor in the

training of psychiatry residents, internal medicine residents and fellows, and medical students, as

well as of mental health and medical professionals at conferences around the nation, by my

observation, the mainstream views of health professionals on transgender care include widespread

acceptance of the WPATH Standards of Care

       47.     The State’s expert witnesses also argue that dissenting views are not tolerated in

WPATH. (See, e.g., Kaliebe, ¶¶ 123-126). I have attended several WPATH conferences since

2001, and have been a member of the Scientific Committees that have reviewed abstract




7
  See American Psychiatric Association. (2019). Position Statement on the Care of Medically
Vulnerable         Migrants       in      the      United       States.     Available       at
https://www.psychiatry.org/File%20Library/About-APA/OrganizationDocuments-
Policies/Policies/Position-Care-of-Medically-Vulnerable-Migrants-in-the-US.pdf;     American
Psychiatric Association. (2016). Position Statement on Treatment of Substance Use Disorders in
the Criminal Justice System. Available at https://www.psychiatry.org/File%20Library/About-
APA/Organization-DocumentsPolicies/Policies/Position-2016-Substance-Use-Disorders-in-the-
Criminal-Justice-System.pdf; see generally American Psychiatric Association Policy Finder,
available at https://www.psychiatry.org/home/policy-finder.

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submissions for the conferences, and the diversity of views presented and discussed has always

been notable. For example, as chair of the Scientific Committee for the 2017 USPATH conference,

I helped organize a panel of therapists and trainees who had themselves detransitioned, and the

presentations and discussion were well-received by attendees.

       48.     According to the State’s experts, it is not just WPATH and USPATH, but also the

American Medical Association, the American Academy of Pediatrics, the American Academy of

Child and Adolescent Psychiatry, the American Psychological Association, the American

Psychiatric Association, the American College of Physicians, the American Academy of Family

Physicians, the Endocrine Society, and the Pediatric Endocrine Society, that act based on political

ideology rather than evidence-based scientific methodologies. (See Kaliebe, ¶¶ 89-130; Kenny, ¶¶

144-145; Weiss, ¶ 70).

       49.     These unsupported claims that all of these major medical groups are sacrificing

adolescents’ health to promote a particular ideology is staggering. Nonetheless, the State’s expert

witnesses claim the existence of a “transactivist lobby,” “transgender marketing machine,”

“transgender medical industry,” and “transgender agenda.” (See, e.g., Kenny, ¶¶ 30, 115, 146,

149). Health professionals across disciplines providing medically necessary care for their gender

dysphoric patients, as they do for their other patients, do not constitute a conspiracy. The

suggestion that health care providers across specialties and around the world are somehow

influenced by a shadow lobby of transgender activists is without basis.

        GENDER-AFFIRMING MEDICAL CARE HAS LONG-TERM BENEFITS

       50.     I have treated people ranging from adolescents to the elderly. And many of my

patients have remained with me for decades, e.g., where a patient is on medications that need to




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be monitored, and their medical transition was a positive health care decision not just in the short

term but for the course of their lives.

       51.     The State’s expert witnesses’ anecdotes and assertions regarding the incidence of

regret and “detransition” are inconsistent with the data and my clinical experience. (See Kaliebe,

¶¶ 173, 175; Kenny, ¶¶ 125-137; Weiss, ¶¶ 136-140). A study of everyone receiving gender-

affirming surgery in Sweden over 50 years (1960 to 2010) found a regret rate of 2.2.%, declining

over the years. There were ten cases of regret from 1960 to 1980, and only five cases of regret total

in the last 30 years that were reviewed, from 1981-2010. (Dhejne, et al., 2014). A meta-analysis

of 27 studies which reported regret after gender-affirming surgery found that of 7928 people

having gender-affirming surgery, the regret rate was 1%. (Bustos, et al., 2021). These experts’

assertions are also at odds with my clinical experience over decades. I have had some patients who

halted their transition due to challenging personal circumstances—e.g., fear of losing family

support— but they still had gender dysphoria. And some came back years later to resume their

transition. I have also had patients discontinue medical treatment for other reasons, including being

happy with the existing changes and continuing to live and identify as transgender. But in 30 years,

I have never seen a patient who had undergone hormone therapy and surgery and later came to

identify with their sex assigned at birth and regret the treatment they had received.

       52.     The State’s expert witnesses point to elevated rates of mental health problems and

substance use in the transgender community, suggesting that being transgender is the cause of

these negative outcomes and, thus, something doctors should try to prevent. (See Cantor, ¶ 55;

Kaliebe, ¶¶ 186-189; Kenny, ¶ 137; Weiss, ¶ 58). As discussed above, being transgender is not

something doctors can prevent. And these comments disregard the significant stigma transgender




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people continue to face, and stigma is a well-documented risk factor for mental health and

substance use issues.

       53.     Apparently in support of the unattainable goal of trying to deter people from being

transgender or receiving any gender affirming medical care, the State’s expert witnesses’ claim

that: gender affirming care comes at the expense of “not developing functional aspects [of

identity], such as educational excellence, productive work skills, well-rounded leisure pursuits,

and purpose and meaning through supportive communities,” (Kaliebe, ¶ 189); that the “longer-

term outlook for transgender adults appears bleak,” (Kenny, ¶ 137); and that transgender young

people who receive gender affirming care are “totally ruined as social human beings.” (Kenny, ¶

141). That may be their own views of transgender people, but it is not at all consistent with clinical

experience, including my own. Many transgender people, when appropriately treated, lead

fulfilling lives, forming romantic relationships and having families, and having close relationships

with friends and extended family.

RESPONSE TO CRITICISMS IN THE EXPERT DECLARATION OF JAMES CANTOR

       54.     I have reviewed the declaration from James Cantor, specifically his critique of my

declaration. (See Cantor, ¶¶ 272-283). I note briefly that, contrary to Dr. Cantor’s assertions, my

declaration includes extensive citation to relevant research literature. (Compare Cantor, ¶ 273 with

ECF 26-1 (Exhibit B – Dan Karasic Bibliography)). Contrary to Dr. Cantor’s general critiques of

the WPATH SOC 7 and SOC 8, those standards of care are based upon a rigorous and

methodological approach to outline treatment recommendations, informed by a systematic review

of evidence and an assessment of the benefits and harms of alternative care options, as well as

expert consensus. The rigor of that approach is confirmed, not contradicted, by the changes across




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SOC 6, 7, and 8, as clinicians and researchers steeped in this area of medicine continually endeavor

to refine the treatment recommendations based on the best currently available evidence.

       55.     After lengthy criticism of literature supporting gender affirming care, which Dr.

Cantor distorts through cherry-picking, Dr. Cantor uses Diaz and Bailey (2023) to draw the

conclusion that the body of research supporting gender-affirming care cannot be applied to current

transgender youth. Diaz and Bailey’s paper has received extensive criticism, including that its first

author is anonymous and did not seek the human subjects review that is a standard requirement,

and that the data was obtained from parents of trans people visiting a site that is named after the

phenomenon the paper purports to examine—a site that opposes gender affirming care. The second

author, Dr. Bailey, is listed as an editorial board member of the journal that published the paper,

despite the fact that Bailey’s institutional review board at Northwestern University refused to

approve the research protocol. Ultimately, Springer Nature, publisher of the journal, retracted the

article, reportedly due to ethical concerns, including lack of informed consent.8

       56.     Dr. Cantor refers to systematic reviews of the literature of gender affirming care for

minors. It is important to put GRADE scores of systematic reviews in context. Only a small

percentage of systematic reviews of medical interventions have a high GRADE score; for a

majority of systematic reviews of medical interventions, GRADE scores are low or very low.

(Fleming et al., 2016, Howick, et al., 2020). For complex interventions, for which gender affirming

care certainly qualifies, no high GRADE scores were found for systematic reviews of any complex




8
 See, e.g., Ellie Kincaid, After backlash, publisher to retract article that surveyed parents of
children with gender dysphoria, says co-author, (May 24, 2023),
https://retractionwatch.com/2023/05/24/after-backlash-publisher-to-retract-article-that-surveyed-
parents-of-children-with-gender-dysphoria-says-co-author.

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intervention. (Movsisyan, et al., 2016). If only medical interventions with high GRADE scores

were permitted by law, most medical interventions and all complex interventions would be banned.



I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed this 6th day of June, 2023.




                                                     Dan H. Karasic, M.D.




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